Case 6:16-cv-06263-|\/|AT-.]WF Document 18 Filed 02/24/17 Page 1 of 2

UNITED STATES DlSTRlCT COURT
WESTERN DISTRICT OF NEW YORK

 

DACOLA SHORES PROPERTIES, LLC,

Plaintiff,
vs. Docket No.: 6:l6-cv-06263-MAT-JWF
ERIE INSURANCE COMPANY,

Defendant.

 

STIPULATI()N OF DISMISSAL

WHEREAS, plaintiff and defendant have reached a settlement acceptable to both

parties and

WHEREAS the plaintiff has executed a general release With a confidentiality

provision;

NOW, THEREFORE, pursuant to Rule 4l(a)(l) of the Federal Rules of
Civil Procedure, the parties agree and Stipulate that plaintiff s complaint Shall be dismissed With

prejudice and on the merits, that each party shall bear their own fees and costs in connection With

Case 6:16-cv-06263-|\/|AT-.]WF Document 18 Filed 02/24/17 Page 2 of 2

this action, and that the Clerk of the Court may file this Stipulation of Dismissal without

providing further notice.

 

Dated: :;l/<;)Q\ , 20 /7

Buffalo', New York

 

 

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